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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

   THOMAS MATTHEWS, on behalf of                         :
   himself and others similarly situated,                :   CIVIL ACTION FILE NO. 0:22-cv-61229
                                                         :
           Plaintiff,                                    :
                                                         :
   v.                                                    :
                                                         :
   ENHANCE HEALTH LLC                                    :
                                                         :
           Defendant.                                    :
                                                         :
                                                     /

                                    NOTICE OF RESOLUTION

         Plaintiff Thomas Matthews and Defendant Enhance Health LLC hereby notify the Court

  that the parties have reached a resolution in principle to resolve this matter. The parties anticipate

  filing a Notice of Dismissal of the action with prejudice as to the Plaintiff’s individual claim

  within 30 days. Accordingly, the parties respectfully request that all current deadlines and

  hearings be suspended pending the filing of the Notice of Dismissal.

  Dated: September 29, 2022              Respectfully submitted,

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